Case 2:12-cv-00859-LMA-MBN Document 1297-3 Filed 07/22/20 Page 1 of 9

EXHIBIT 1

AFFIDAVIT OF MICHAEL G. GAFFNEY, ESQ.
Case 2:12-cv-00859-LMA-MBN Document 1297-3 Filed 07/22/20 Page 2 of 9

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

LASHAWN JONES, ET AL.,
CIVIL ACTION CASE
Plaintiffs,
NO. 2:12-cv-00859
VERSUS
SECTION “I”

MARLIN GUSMAN, ORLEANS PARISH JUDGE LANCE M. AFRICK

SHERIFF, ET AL.,
MAGISTRATE “5”

Defendants. MICHAEL B. NORTH

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AFFIDAVIT OF MICHAEL G. GAFFNEY, ESO.
STATE OF LOUISIANA
PARISH OF ORLEANS
BEFORE ME, a Notary Public duly qualified and commissioned in and for the State of
Louisiana and Parish aforesaid personally came and appeared:
MICHAEL G. GAFFNEY, ESQ.
Who after being sworn by me, did depose and state the following:
IL
I am a person of the age of minority and am competent to make the Affidavit.
Il.
] am an attorney licensed to practice law in Louisiana. I have represented the Orleans Parish
Sheriff's Office (“OPSO”) in obtaining FEMA funds to replace OPSO facilities destroyed by

Hurricane Katrina.

EXHIBIT 1
Case 2:12-cv-00859-LMA-MBN Document 1297-3 Filed 07/22/20 Page 3 of 9

If.

On June 15, 2020, I issued several public records requests to the Governor’s Office of
Homeland Security and Emergency Preparedness (“GOHSEP”) regarding various FEMA project
worksheets (“PWs”) involving the OPSO and the City of New Orleans.

IV.

In response to the public records requests, I received and reviewed documentation for the
following PWs: 3977, 20494, 20947, 21057, 21063, 21067, 21068, and 21081. 1 have attached on
a flash drive, labeled as Exhibit “A,” the responses to the public records requests.

V.

Many facilities were located at the Orleans Parish jail complex prior to Hurricane Katrina.
These included Templeman Buildings | through 5, Community Correctional Center (“CCC”), the
House of Detention (“HOD”), Conchetta, Fisk Work Release, the Old Parish Prison (“OPP”), and
South White Street.

VI.

The Templeman I and II buildings contained facilities to address the medical and mental
needs of inmates at the jail.

Vil.

The medical and mental health functions in the Templeton I and II buildings were
constructed by OPSO. OPSO bought the land on which Templeman II set for $2 million, and it
paid for the construction of Templeman II through a bond issuance. No City money was used to

construct Templeman II.
Case 2:12-cv-00859-LMA-MBN Document 1297-3 Filed 07/22/20 Page 4 of 9

VIII.

The City and OPSO were at odds over whether the City or OPSO controlled the
Templeman II funds. Since OPSO had purchased the land and built Templeman II with its own
bond issuance funds, OPSO argued it should control the Templeman I] Building FEMA funds.

IX.

The OPSO settled the dispute regarding Templeman II funds by agreement with the City
whereby the City would build a permanent facility to address the needs of inmates with mental
and medical issues. In exchange, the City would control the FEMA funds for Templeman II.

X.

The City and OPSO also disputed control over the CCC funds. Ultimately, the City
received for CCC more than $16 million in FEMA repair funds and an additional $2 million of
- Project Management funds . The City was free to use that combined $18 million for the
construction of Phase III, but it chose not to do so.

XI.

The records received from the public records requests show that the combined FEMA
funding attributable to the Templeman I and Templeman II Buildings was $115,620,949.00. Of
that amount, $70,482,530.51 was attributable to Templeman II funds. The City represented in
| pleadings in this case that it spent $5.3 million to repair the Docks and $17.3 million to build the

Youth Study Center. Doc. No. 1022. Thus, the remaining Templeman II funds are as follows:

 

 

 

Templeman II Funds $70.5 million
Docks Repair ($5.3 million)
Youth Study Center ($17.3 million)

 

 

 

 
Case 2:12-cv-00859-LMA-MBN Document 1297-3 Filed 07/22/20 Page 5 of9

 

Remaining Templeman II | $47.9 million
Funds

 

 

 

 

The City should have at least $47.9 million to build Phase III from the Templeman II funds. Even
more FEMA money, however, is available to build Phase HI. An additional $4 million in FEMA
funds is available if the City simply enters into a cooperative endeavor agreement with the OPSO
regarding the Central Plant. Signing a cooperative endeavor agreement will bring the total amount
of funds to $52.9 million to build Phase II]. But that amount does not even include the net amount
of $18 million the City received for CCC.

XII.

The City argues that the cost of the TDC renovations should be used to reduce the amount
of Templeman II funds available to build Phase III. That argument fails for at least two reasons.
First, FEMA would not allow the use of Templeman II funds for the renovations to TDC. Second,
the City never requested reimbursement from FEMA from the Templeman II funds to renovate
TDC.

XII.

The public records show that the City directed the Templeman I and II funds, along with
funds for other FEMA projects, into a pool for “Combined Criminal Justice Alternate Projects.”
When an applicant, such as the City is here, determines that the public welfare would not be best
served by restoring a damaged facility or its function, the applicant may request approval of any
alternate project from FEMA. 44 CFR § 206.203(d)(2). Funds contributed for alternate projects
may be used to repair or expand other selected public facilities, to construct new facilities, or to
fund hazard mitigation measures. 44 CFR § 206.203(d)(2)(iv). In total, the City directed the funds

from more than seventy-five different projects into a “Combined Criminal Justice Alternate

4
Case 2:12-cv-00859-LMA-MBN Document 1297-3 Filed 07/22/20 Page 6 of 9

Projects” pool for a total of $144 million in funding. Some of the projects that donated funds to

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

the pool include:

Project Name Donation Amount
PW 1050 MTA East Draught Pit Canopy $2,330.60
PW 1057 __| MTA East Apparatus Bldg $50,469.68
PW 1065 MTA East Ladder training _ $8,811.50
PW 1086__| MTA East Toilet Bidg $3,208.85
PW 1118 MTA East Burn Bldg $11,797.50
PW 1120 | MTA East Classroom $21,663.00
PW 5456 MTA East Firing Range $162,680.00
PW 8483 NO Police 5" District Station $3,915,371.00
PW 11714 | MTA East Administration B $313,953.00
PW 12206 | CNO Crime Lab $3,146,461.01
PW 13608 | Police Maintenance Wareh $3,683,793.93
PW 13923 | Community Corrections Cen $22,160,540.00
PW 13946 | Police Carpenters Shop $438,742.72
PW 19038 | NO Police Dept 7" District $3,234,274.00
PW 13923 | V1 Community Corrections IT $143,439.00

Fire Station 22/39 relocation $19,333.00

Mobile video units $289,870.00

PW 1051 NOFD 3 $976,246.56
PW 1082 | NOFD Supply Shop $276,333.15
PW 2048 Juvenile & Civil Court $1,016,686.00
PW 8744 | NOFD Station 11 $294,834.07
PW 13999 | Irish Bayou Communications $162,942.05
Total $40,333,780.62

 

 

 

 

 

The City also dedicated to the pool $106 million from the Templeman I and II funds, the
vast majority of the total pooled money of at least $146 million. And the Templeman II funds—
that are exclusively dedicated to complete Phase III by the Stipulated Order—make up the greatest
single contribution to the pool. Almost additional $9 million in Templeman I and II funds are in
another FEMA project worksheet project worksheet for Project Management.

XIV.
Because the City created the pool for “Combined Criminal Justice Alternate Projects,” the

City was required to designate the projects that the pool would fund. For many City submissions
5
Case 2:12-cv-00859-LMA-MBN Document 1297-3 Filed 07/22/20 Page 7 of 9

to FEMA regarding these “Combined Criminal Justice Alternate Projects,” Phase III was never
mentioned. The City’s latest submission lists includes thirty-four different projects, including
Phase III which is listed at number 32 as “Mental and Medical needs.” Twenty-nine of the alternate

projects have been provided funds from the pool or are approved from FEMA;

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Project Name Donation Amount

1 MTA East Training $420,162.66
Enhancements

2 NOPD 5" District Station $3,448,765.00
Replacement

3 NOPD 7" District Station $2,757,904.00
Replacement

4 Criminal Evidence and $11,554,473.21
Processing Complex

5 Community Corrections Center $5,553,455.87
Demolition

6 NOFD Station 31 $210,081.33

7 EMS Headquarters $5,102,033.28

8 Municipal and Traffic Court $2,100,813.31
Bldg Enhancement

9 Police vehicles $5,088,501.74

10 CCC IT relocation $170,669.28

11 NOFD Station 22/39 $741,401.58

12 NOPD 1* District Station $120,000.00

13 Mobile video Units Removed

14 Municipal Traffic Court $2,000,000.00

15 Additional Police Vehicles $3,531,023.09

16 NOPD Data storage $525,203.33

17 Early Warning System $210,081.33

18 Additional Police vehicles $1,452,475.17

19 License plate recognition system $525,203.33

20 Juvenile Justice Center Complex $6,348,119.25

21 Gallier Hall Preservation $1,550,000.00
/restoration

22 NOPD 3" District Station

23 Police Training Academy

24 EMD Central Maintenance Bldg

25 Criminal District Court $4,626,829.95

26 Youth Detention Center

27 Juvenile Justice Center In-Line
Grinder

 

 

6
Case 2:12-cv-00859-LMA-MBN Document 1297-3 Filed 07/22/20 Page 8 of 9

 

 

 

 

 

 

 

 

 

28 NOFD Headquarters at Naval
Support Act Bldg
29 Gallier Hall Exterior repairs
30 Desire Florida Community
Center
31 NOPD 4" District Station
32 Mental and Medical needs
33 Old Parish Prison Docks
34 Project Management
Total $58,037,196.71

 

 

 

 

Thus, the City has received approval for the reimbursement of $58 million in projects other
than Phase III, including over $1.5 million for work on Gallier Hall, $8 million in police vehicles,
and $2 million for the Municipal Traffic Court.

XV.

With reimbursements to date, approximately $88 million remains in the “Combined
Criminal Justice Alternate Projects” pool. Other than Phase III (#32), only four of the listed
projects remain: (#28) NOFD Headquarters, (#30) Desire Florida Community Center, (#31) NOFD
44 District Station, and (#34) Project Management. However, the city intends to spend all of the
remaining funds on other projects.

XVI.

Prior to Katrina, the Templeman II Building addressed the needs of inmates with medical
and mental health issues. As such, if the Templeman II funds were not pooled for alternate projects,
as the City has done here, FEMA would have replaced the facility for inmates with mental or
medical issues regardless of increased costs. Stated differently, if Phase II] was estimated to cost
$36 million, but new construction standards and increased construction costs raised that price,
FEMA would have covered those extra costs. By electing to pool the Templeman II monies into

“Combined Criminal Justice Alternate Projects,” the cost to build Phase III was capped by FEMA

7
Case 2:12-cv-00859-LMA-MBN Document 1297-3 Filed 07/22/20 Page 9 of 9

at the time of the City’s election. FEMA Policy 9525-13 Alternate Projects. If the funds for
Templeman III and IV had been capped, then either the OPSO or the City would have needed to
contribute approximately $70 million to fund the construction of the OJC.
XVII.

I have attached as Exhibit “B” to this Affidavit, FEMA correspondence dated September
10. 2019 granting a time extension request. It is also significant to note that the Period of
Performance (“PoP”) to complete facility damage during Hurricane Katrina is August 29, 2023.
The PoP is generally the time during which the Grantee (State of Louisiana) is expected to
complete the grant activities and to incur and expend approved funds. The State is responsible for

ensuring that all approved activities are completed by the end of the PoP.
XVII.

I have attached as Exhibit “C” to this Affidavit my detailed report analyzing the records
received from the public records request. Also included on the Exhibit “A” flash drive are

documents used in generating the report.

 
    

MICHAEL G. GAF

Sworn to and subscribed
before me this 22nd day of July 2020.

fw

Notary Public ZSQiloO

My Commission Expires at atest?
Br Y Onn C. Reh,

 
